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                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        44                                                               Invoice For    Texas DFPS/HHSC
Issue Date        04/11/2023

Due Date          05/11/2023 (Net 30)

Subject           Texas Appleseed Monitoring Team; March 2023




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (03/01/2023 -             86.52            $181.02            $15,661.45
                  03/31/2023)


Product           Expenses for Texas Foster Care Court Monitoring - Travel               1.00           $2,792.82            $2,792.82
                  (03/01/2023 - 03/31/2023)


Service           Texas Foster Care Monitoring (03/01/2023 - 03/31/2023)             2,871.25            $280.73           $806,058.90


Product           Expenses for Texas Foster Care Monitoring (03/01/2023 -                1.00            $664.44               $664.44
                  03/31/2023)


                                                                                                 Amount Due            $825,177.61




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                            INVOICE
                                                                                   From     Texas Appleseed
                                                                                            1609 Shoal Creek Blvd
                                                                                            Ste 201
                                                                                            Austin, TX 78701




Invoice ID       44                                                           Invoice For   Texas DFPS/HHSC
Issue Date       04/11/2023

Due Date         05/11/2023 (Net 30)

Subject          Texas Appleseed Monitoring Team; March 2023




Item Type        Description                                                     Quantity         Unit Price          Amount

Service          Texas Foster Care Court Monitoring - Travel - 03/05/2023 -         4.85           $162.50           $788.13
                 Travel / Victoria Foster


Service          Texas Foster Care Court Monitoring - Travel - 03/05/2023 -         3.50           $162.50           $568.75
                 EVE/WKND Travel / Monica Santiago


Service          Texas Foster Care Court Monitoring - Travel - 03/05/2023 -         5.00           $325.00          $1,625.00
                 EVE/WKND Travel / Shelly Voss


Service          Texas Foster Care Court Monitoring - Travel - 03/05/2023 -         3.25           $197.50           $641.88
                 Travel / Beth Mitchell


Service          Texas Foster Care Court Monitoring - Travel - 03/05/2023 -         4.25           $125.00           $531.25
                 Travel / Catherine Morris


Service          Texas Foster Care Court Monitoring - Travel - 03/06/2023 -         0.50           $162.50            $81.25
                 Travel / Monica Santiago


Service          Texas Foster Care Court Monitoring - Travel - 03/06/2023 -         2.67           $325.00           $867.75
                 Travel / Kristi Law


Service          Texas Foster Care Court Monitoring - Travel - 03/06/2023 -         0.50           $162.50            $81.25
                 Travel / Victoria Foster


Service          Texas Foster Care Court Monitoring - Travel - 03/06/2023 -         0.85           $325.00           $276.25
                 Travel / Shelly Voss


Service          Texas Foster Care Court Monitoring - Travel - 03/06/2023 -         0.50           $197.50            $98.75
                 Travel / Beth Mitchell


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Service       Texas Foster Care Court Monitoring - Travel - 03/06/2023 -   0.33   $125.00     $41.25
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 03/07/2023 -   0.50   $162.50     $81.25
              Travel / Monica Santiago


Service       Texas Foster Care Court Monitoring - Travel - 03/07/2023 -   1.58   $325.00    $513.50
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 03/07/2023 -   0.50   $162.50     $81.25
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 03/07/2023 -   0.38   $325.00    $123.50
              Travel / Shelly Voss


Service       Texas Foster Care Court Monitoring - Travel - 03/07/2023 -   0.50   $197.50     $98.75
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 03/08/2023 -   3.50   $162.50    $568.75
              Travel / Monica Santiago


Service       Texas Foster Care Court Monitoring - Travel - 03/08/2023 -   1.33   $325.00    $432.25
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 03/08/2023 -   4.97   $162.50    $807.63
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 03/08/2023 -   5.00   $325.00   $1,625.00
              Travel / Shelly Voss


Service       Texas Foster Care Court Monitoring - Travel - 03/08/2023 -   3.42   $197.50    $675.45
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 03/08/2023 -   4.50   $125.00    $562.50
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 03/21/2023 -   8.05   $162.50   $1,308.13
              Travel / Clarice Rogers


Service       Texas Foster Care Court Monitoring - Travel - 03/21/2023 -   5.67   $125.00    $708.75
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 03/21/2023 -   5.67   $100.00    $567.00
              Travel / Adrian Gaspar


Service       Texas Foster Care Court Monitoring - Travel - 03/22/2023 -   5.50   $162.50    $893.75
              Travel / Clarice Rogers


Service       Texas Foster Care Court Monitoring - Travel - 03/22/2023 -   3.50   $125.00    $437.50
              Travel / Shay Price




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Service       Texas Foster Care Court Monitoring - Travel - 03/22/2023 -           5.75    $100.00     $575.00
              Travel / Adrian Gaspar


Product       Expenses for Texas Foster Care Court Monitoring - Travel             1.00   $2,792.82   $2,792.82
              (03/01/2023 - 03/31/2023)


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 4.00    $200.00     $800.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 3.50    $200.00     $700.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 1.00    $200.00     $200.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            0.50    $425.00     $212.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 3.83    $325.00    $1,244.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            3.50    $250.00     $875.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 4.00    $250.00    $1,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 6.00    $300.00    $1,800.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            2.00    $300.00     $600.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Monica
              Benedict


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            4.00    $200.00     $800.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 9.92    $395.00    $3,918.40
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 9.83    $325.00    $3,194.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            4.00    $250.00    $1,000.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


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Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 3.50   $200.00    $700.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Kristi Law


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 4.00   $395.00   $1,580.00
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 5.00   $120.00    $600.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 3.00   $120.00    $360.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 0.33   $325.00    $107.25
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 1.25   $325.00    $406.25
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 3.75   $325.00   $1,218.75
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            8.00   $325.00   $2,600.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 03/01/2023 - Document                 5.00   $200.00   $1,000.00
              Review/Data Analysis/Verification Work / Alyssa Baquera


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            3.00   $200.00    $600.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Alyssa
              Baquera


Service       Texas Foster Care Monitoring - 03/01/2023 - Meetings with            2.58   $250.00    $645.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Catherine
              Morris




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Service       Texas Foster Care Monitoring - 03/01/2023 - Document        0.17   $250.00     $42.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 03/01/2023 - Document        1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 03/01/2023 - Document        3.50   $325.00   $1,137.50
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 03/01/2023 - Document        3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Jessika Hensley


Service       Texas Foster Care Monitoring - 03/02/2023 - Project         1.50   $325.00    $487.50
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.08   $325.00   $2,626.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        3.00   $325.00    $975.00
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        5.70   $325.00   $1,852.50
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        5.00   $395.00   $1,975.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 03/02/2023 - Project         1.33   $395.00    $525.35
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 03/02/2023 - Document        5.25   $325.00   $1,706.25
              Review/Data Analysis/Verification Work / Shelly Voss




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Service       Texas Foster Care Monitoring - 03/02/2023 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera


Service       Texas Foster Care Monitoring - 03/02/2023 - Document               4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 03/02/2023 - Document               3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Jessika Hensley


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               2.00   $120.00    $240.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 03/03/2023 - EVE/WKND               1.12   $300.00    $336.00
              Meetings with agency leadership, staff, clients, conference
              calls, time spent with team, plaintiffs consultants or other
              providers. / Robert McManus


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               0.67   $325.00    $217.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with          0.73   $325.00    $237.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               3.78   $325.00   $1,228.50
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               7.50   $250.00   $1,875.00
              Review/Data Analysis/Verification Work / Omarie Roque


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with          1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               4.83   $325.00   $1,569.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 03/03/2023 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with          1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke



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Service       Texas Foster Care Monitoring - 03/03/2023 - Project                  0.83   $395.00    $327.85
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 9.00   $395.00   $3,555.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with            1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 3.50   $325.00   $1,137.50
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with            1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with            1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 03/03/2023 - Meetings with            0.67   $250.00    $167.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Catherine
              Morris


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 6.50   $325.00   $2,112.50
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 03/03/2023 - Document                 1.50   $200.00    $300.00
              Review/Data Analysis/Verification Work / Jessika Hensley


Service       Texas Foster Care Monitoring - 03/04/2023 - Document                 0.35   $300.00    $105.00
              Review/Data Analysis/Verification Work / Robert McManus




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Service       Texas Foster Care Monitoring - 03/04/2023 - EVE/WKND              8.00   $425.00   $3,400.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 03/04/2023 - Document              2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 03/04/2023 - Document              4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              0.31   $300.00     $93.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              0.19   $300.00     $57.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              0.33   $300.00     $99.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              0.43   $300.00    $129.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              0.15   $300.00     $45.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 03/05/2023 - EVE/WKND              9.00   $425.00   $3,825.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              1.25   $325.00    $406.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              2.67   $395.00   $1,054.65
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 03/05/2023 - Project               3.08   $395.00   $1,216.60
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 03/05/2023 - Document              4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 03/06/2023 - Document              4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 03/06/2023 - Meetings with         2.00   $325.00    $650.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 03/06/2023 - Project               2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 03/06/2023 - Document              0.25   $300.00     $75.00
              Review/Data Analysis/Verification Work / Robert McManus


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Service        Texas Foster Care Monitoring - 03/06/2023 - Document              0.34   $300.00    $102.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              0.54   $300.00    $162.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with         1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/06/2023 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with         0.75   $425.00    $318.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              5.25   $200.00   $1,050.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/06/2023 - Report and            1.00   $395.00    $395.00
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with         2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke




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Service        Texas Foster Care Monitoring - 03/06/2023 - Project                   2.50   $395.00    $987.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  4.67   $395.00   $1,844.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/06/2023 - Report and                2.00   $425.00    $850.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with             1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                 10.25   $325.00   $3,331.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with             1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 03/06/2023 - Project                   0.50   $325.00    $162.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/06/2023 - Project                   1.50   $200.00    $300.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  7.42   $325.00   $2,411.50
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                  1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/06/2023 - Document                 10.17   $325.00   $3,305.25
               Review/Data Analysis/Verification Work / Victoria Foster




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Service        Texas Foster Care Monitoring - 03/06/2023 - Meetings with         0.15   $325.00     $48.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              9.50   $325.00   $3,087.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              9.50   $395.00   $3,752.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              1.25   $250.00    $312.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              0.83   $250.00    $207.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              9.50   $250.00   $2,375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/06/2023 - Document              0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              0.56   $300.00    $168.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              0.22   $300.00     $66.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              0.33   $300.00     $99.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              0.83   $300.00    $249.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/07/2023 - Meetings with         3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              0.45   $300.00    $135.00
               Review/Data Analysis/Verification Work / Robert McManus




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Service        Texas Foster Care Monitoring - 03/07/2023 - Meetings with          3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               0.06   $300.00     $18.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              12.25   $325.00   $3,981.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/07/2023 - Report and             5.50   $200.00   $1,100.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/07/2023 - Document               8.07   $325.00   $2,622.75
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/07/2023 - Meetings with          3.08   $395.00   $1,216.60
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke




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Service        Texas Foster Care Monitoring - 03/07/2023 - Project               0.50   $395.00    $197.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              6.58   $395.00   $2,599.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              2.50   $200.00    $500.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              8.33   $395.00   $3,290.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/07/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/07/2023 - Meetings with         0.67   $325.00    $217.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              8.25   $250.00   $2,062.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/07/2023 - Document              0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              1.18   $300.00    $354.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              0.34   $300.00    $102.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              0.58   $300.00    $174.00
               Review/Data Analysis/Verification Work / Robert McManus




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Service        Texas Foster Care Monitoring - 03/08/2023 - Document       0.69   $300.00    $207.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       0.22   $300.00     $66.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       0.55   $300.00    $165.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       0.45   $300.00    $135.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       9.50   $325.00   $3,087.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/08/2023 - Report and     5.42   $325.00   $1,761.50
               Document Preparation / Kristi Law


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/08/2023 - Project        2.58   $395.00   $1,019.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       9.08   $395.00   $3,586.60
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/08/2023 - Document       2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/08/2023 - Report and     2.00   $250.00    $500.00
               Document Preparation / Omarie Roque




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Service        Texas Foster Care Monitoring - 03/08/2023 - Document              6.25   $250.00   $1,562.50
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 03/08/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/08/2023 - Meetings with         1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              2.33   $395.00    $920.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/08/2023 - Meetings with         2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/08/2023 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 03/08/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              0.61   $300.00    $183.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              0.07   $300.00     $21.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              1.40   $325.00    $455.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/09/2023 -                       0.50   $325.00    $162.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Kristi Law




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Service        Texas Foster Care Monitoring - 03/09/2023 - Meetings with            1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/09/2023 -                          0.83   $325.00    $269.75
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Clarice Rogers


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/09/2023 - Project                  3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 03/09/2023 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/09/2023 - Meetings with            1.33   $395.00    $525.35
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 9.50   $395.00   $3,752.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/09/2023 - Project                  1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/09/2023 - Document                 5.58   $250.00   $1,395.00
               Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 03/09/2023 - Document              4.17   $325.00   $1,355.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/09/2023 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/09/2023 - Report and            2.50   $250.00    $625.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/09/2023 - Meetings with         0.75   $200.00    $150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              7.25   $200.00   $1,450.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/09/2023 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/09/2023 -                       0.33   $250.00     $82.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Jessica Tyler




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Service        Texas Foster Care Monitoring - 03/10/2023 - Document              6.50   $120.00    $780.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 03/10/2023 - Meetings with         1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              1.50   $300.00    $450.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/10/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 03/10/2023 - Meetings with         6.00   $250.00   $1,500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 03/10/2023 - Project               2.17   $395.00    $857.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              4.33   $395.00   $1,710.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/10/2023 - Report and            5.50   $250.00   $1,375.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              6.75   $325.00   $2,193.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              6.75   $200.00   $1,350.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/10/2023 - Document              1.80   $395.00    $711.00
               Review/Data Analysis/Verification Work / Beth Mitchell




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Service        Texas Foster Care Monitoring - 03/10/2023 - Document        6.67   $250.00   $1,667.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/10/2023 - Document        8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/10/2023 - Document        6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/10/2023 - Document        0.67   $250.00    $167.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/10/2023 - Document        1.08   $250.00    $270.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/10/2023 - Document        6.60   $325.00   $2,145.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/10/2023 - Document        2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/11/2023 - Document        0.65   $300.00    $195.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/11/2023 - Document        0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/11/2023 - Document        0.42   $300.00    $126.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/11/2023 - EVE/WKND        6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/11/2023 - Document        2.33   $325.00    $757.25
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/11/2023 - Document        2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/12/2023 - Document        3.17   $325.00   $1,030.25
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/12/2023 - Document        3.92   $325.00   $1,274.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/12/2023 - EVE/WKND        6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler




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Service        Texas Foster Care Monitoring - 03/12/2023 - EVE/WKND              0.50   $425.00    $212.50
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/12/2023 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              3.00   $425.00   $1,275.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/13/2023 - Report and            8.00   $250.00   $2,000.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/13/2023 - Project               0.83   $325.00    $269.75
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              9.83   $325.00   $3,194.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with         3.25   $325.00   $1,056.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody




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Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with            1.17   $325.00    $380.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with            1.55   $325.00    $503.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 4.45   $325.00   $1,446.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with            4.17   $395.00   $1,647.15
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 5.67   $395.00   $2,239.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/13/2023 - Report and               0.75   $395.00    $296.25
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 03/13/2023 - Meetings with            1.42   $325.00    $461.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/13/2023 - Document                 4.33   $325.00   $1,407.25
               Review/Data Analysis/Verification Work / Shelly Voss




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Service        Texas Foster Care Monitoring - 03/13/2023 - Document              1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/13/2023 - Document              2.42   $250.00    $605.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         1.25   $250.00    $312.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/14/2023 - Project               1.00   $250.00    $250.00
               Management & Planning / Deborah Borman


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              4.33   $395.00   $1,710.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         0.50   $300.00    $150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 03/14/2023 - Project               1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              2.70   $325.00    $877.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/14/2023 - Report and            7.00   $250.00   $1,750.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              4.67   $325.00   $1,517.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster




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Service        Texas Foster Care Monitoring - 03/14/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              5.00   $120.00    $600.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/14/2023 - Project               1.50   $325.00    $487.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              7.83   $325.00   $2,544.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              8.50   $395.00   $3,357.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         2.00   $425.00    $850.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/14/2023 - Report and            2.00   $425.00    $850.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law




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Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         2.50   $325.00    $812.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/14/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              5.83   $325.00   $1,894.75
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              1.58   $250.00    $395.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/14/2023 - Document              3.50   $200.00    $700.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/15/2023 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 03/15/2023 - EVE/WKND              1.00   $425.00    $425.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/15/2023 - Report and            1.50   $250.00    $375.00
               Document Preparation / Omarie Roque




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Service        Texas Foster Care Monitoring - 03/15/2023 - Document              6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              3.25   $395.00   $1,283.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              9.17   $395.00   $3,622.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/15/2023 - Meetings with         0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/15/2023 - Report and            0.25   $395.00     $98.75
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              3.00   $425.00   $1,275.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/15/2023 - Report and            1.00   $425.00    $425.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/15/2023 - Document              4.56   $325.00   $1,482.00
               Review/Data Analysis/Verification Work / Shelly Voss


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Service        Texas Foster Care Monitoring - 03/15/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/15/2023 - Document               2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/15/2023 - Document               0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/15/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/15/2023 - Document               1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/16/2023 - Document               6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/16/2023 - Meetings with          2.00   $300.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 03/16/2023 - Document               3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/16/2023 - Meetings with          0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 03/16/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/16/2023 - Meetings with          1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/16/2023 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/16/2023 - Meetings with          1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/16/2023 - Meetings with          2.42   $395.00    $955.90
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke




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Service        Texas Foster Care Monitoring - 03/16/2023 - Document           8.50   $395.00   $3,357.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/16/2023 - Report and         0.50   $395.00    $197.50
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/16/2023 -                    1.00   $250.00    $250.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Omarie Roque


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/16/2023 - Report and         2.00   $250.00    $500.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/16/2023 - EVE/WKND           1.00   $425.00    $425.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/16/2023 - Report and         6.00   $425.00   $2,550.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/16/2023 - Project            2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/16/2023 - Report and         0.50   $325.00    $162.50
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 03/16/2023 - Document           0.53   $325.00    $172.25
               Review/Data Analysis/Verification Work / Shelly Voss




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Service        Texas Foster Care Monitoring - 03/16/2023 - Meetings with         2.00   $200.00    $400.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 03/16/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/16/2023 - Document              0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/16/2023 -                       0.33   $250.00     $82.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris


Service        Texas Foster Care Monitoring - 03/16/2023 -                       1.00   $250.00    $250.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris


Service        Texas Foster Care Monitoring - 03/16/2023 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/16/2023 - Document              0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/17/2023 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/17/2023 -                       2.00   $250.00    $500.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Omarie Roque


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/17/2023 - Report and            1.00   $250.00    $250.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr




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Service        Texas Foster Care Monitoring - 03/17/2023 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/17/2023 - Meetings with         2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              0.67   $325.00    $217.75
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/17/2023 - Report and            4.00   $425.00   $1,700.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/17/2023 -                       0.50   $325.00    $162.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              4.08   $250.00   $1,020.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/17/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/18/2023 - Report and            8.25   $250.00   $2,062.50
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/18/2023 - Document              3.17   $325.00   $1,030.25
               Review/Data Analysis/Verification Work / Jessica Tyler




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Service        Texas Foster Care Monitoring - 03/18/2023 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/18/2023 - EVE/WKND              8.00   $425.00   $3,400.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/19/2023 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/19/2023 - EVE/WKND              5.50   $425.00   $2,337.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/19/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/20/2023 -                       1.00   $250.00    $250.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Omarie Roque


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/20/2023 - Report and            3.50   $250.00    $875.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              8.92   $325.00   $2,899.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/20/2023 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/20/2023 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              2.08   $325.00    $676.00
               Review/Data Analysis/Verification Work / Monica Santiago




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Service        Texas Foster Care Monitoring - 03/20/2023 - Report and             3.00   $425.00   $1,275.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with          2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with          2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with          1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/20/2023 - Document              11.25   $395.00   $4,443.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with          1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/20/2023 - Document               3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Nora Sawyer



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Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with            1.47   $325.00    $477.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/20/2023 - Document                 3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/20/2023 - Report and               3.23   $325.00   $1,049.75
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 03/20/2023 - Document                 7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/20/2023 - Document                 0.42   $250.00    $105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/20/2023 - Meetings with            1.08   $250.00    $270.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 03/20/2023 - Document                 6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/20/2023 - Document                 2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/20/2023 - Document                 0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/21/2023 - Document                 0.72   $300.00    $216.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Document                 0.28   $300.00     $84.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Document                 0.45   $300.00    $135.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Document                 0.18   $300.00     $54.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Meetings with            1.25   $250.00    $312.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque




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Service        Texas Foster Care Monitoring - 03/21/2023 - Document              4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              0.32   $300.00     $96.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              0.65   $300.00    $195.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              6.75   $250.00   $1,687.50
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              0.32   $300.00     $96.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              9.67   $325.00   $3,142.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              2.42   $250.00    $605.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              3.08   $325.00   $1,001.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/21/2023 - Meetings with         2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 03/21/2023 - Project               2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              9.42   $395.00   $3,720.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Deborah Borman


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Service        Texas Foster Care Monitoring - 03/21/2023 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/21/2023 - Meetings with         1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/21/2023 - Report and            2.42   $200.00    $484.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/21/2023 - Document              1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Jessika Hensley


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              0.47   $300.00    $141.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/22/2023 - Meetings with         1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              0.46   $300.00    $138.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              0.38   $300.00    $114.00
               Review/Data Analysis/Verification Work / Robert McManus




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Service        Texas Foster Care Monitoring - 03/22/2023 - Document            0.42   $300.00    $126.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            1.07   $300.00    $321.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            8.92   $325.00   $2,899.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/22/2023 - EVE/WKND            0.50   $425.00    $212.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/22/2023 - EVE/WKND            0.50   $425.00    $212.50
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/22/2023 - EVE/WKND            0.50   $425.00    $212.50
               Project Management & Planning / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            2.40   $395.00    $948.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            2.67   $325.00    $867.75
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            1.67   $325.00    $542.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/22/2023 - Document           10.08   $395.00   $3,981.60
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/22/2023 - Document            2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 03/22/2023 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/22/2023 - Meetings with         1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              2.20   $325.00    $715.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/22/2023 - Report and            1.00   $325.00    $325.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 03/22/2023 - Meetings with         2.22   $325.00    $721.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/22/2023 -                       0.17   $250.00     $42.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              2.17   $250.00    $542.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/22/2023 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/22/2023 - Report and            1.75   $200.00    $350.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/22/2023 - Report and            0.50   $200.00    $100.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              0.99   $300.00    $297.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              0.36   $300.00    $108.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              0.90   $300.00    $270.00
               Review/Data Analysis/Verification Work / Robert McManus




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Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.18   $300.00     $54.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.42   $300.00    $126.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               1.15   $300.00    $345.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.38   $300.00    $114.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              10.00   $300.00   $3,000.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.10   $300.00     $30.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.27   $300.00     $81.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               0.18   $300.00     $54.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/23/2023 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/23/2023 - Document               2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Clarice Rogers


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Service        Texas Foster Care Monitoring - 03/23/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/23/2023 - Report and            7.00   $250.00   $1,750.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              3.83   $325.00   $1,244.75
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/23/2023 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/23/2023 - Project               1.00   $325.00    $325.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              9.00   $395.00   $3,555.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/23/2023 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/23/2023 - Meetings with         1.93   $325.00    $627.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/23/2023 - Report and            1.32   $325.00    $429.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody



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Service        Texas Foster Care Monitoring - 03/23/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/23/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/23/2023 - Report and            4.00   $200.00    $800.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/23/2023 - Report and            4.00   $200.00    $800.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.77   $300.00    $231.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.06   $300.00     $18.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.45   $300.00    $135.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.74   $300.00    $222.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.72   $300.00    $216.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.92   $300.00    $276.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/24/2023 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/24/2023 - Report and            6.50   $250.00   $1,625.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              5.08   $325.00   $1,651.00
               Review/Data Analysis/Verification Work / Jessica Tyler


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Service        Texas Foster Care Monitoring - 03/24/2023 - Document              8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              7.42   $325.00   $2,411.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/24/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              7.33   $395.00   $2,895.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/24/2023 -                       1.00   $250.00    $250.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Deborah Borman


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/24/2023 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/24/2023 - Meetings with         2.22   $325.00    $721.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              4.03   $325.00   $1,309.75
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/24/2023 - Report and            2.00   $325.00    $650.00
               Document Preparation / Shelly Voss



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Service        Texas Foster Care Monitoring - 03/24/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              2.17   $250.00    $542.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              1.33   $250.00    $332.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/24/2023 - Project               1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/24/2023 - Document              2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/24/2023 - Report and            5.00   $200.00   $1,000.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/25/2023 - EVE/WKND              2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/25/2023 - Report and            4.50   $250.00   $1,125.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/25/2023 - Document              3.58   $325.00   $1,163.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/25/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/25/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/25/2023 - Document              0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/25/2023 - EVE/WKND              4.50   $425.00   $1,912.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/26/2023 - Report and            5.25   $250.00   $1,312.50
               Document Preparation / Deborah Borman




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Service        Texas Foster Care Monitoring - 03/26/2023 - Document               5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/26/2023 - Document               0.08   $300.00     $24.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/26/2023 - Document               2.17   $325.00    $705.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/26/2023 - EVE/WKND               1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/26/2023 - Document               3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/26/2023 - Report and             1.00   $325.00    $325.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 03/27/2023 - Report and             3.00   $250.00    $750.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/27/2023 - Document               1.04   $300.00    $312.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/27/2023 - Document               0.29   $300.00     $87.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/27/2023 - Document               0.38   $300.00    $114.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/27/2023 - Report and             1.83   $250.00    $457.50
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/27/2023 - Document               0.34   $300.00    $102.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/27/2023 -                        0.50   $250.00    $125.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Deborah Borman


Service        Texas Foster Care Monitoring - 03/27/2023 - Document               6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/27/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with          0.33   $325.00    $107.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster



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Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 8.33   $325.00   $2,707.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with            1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with            7.00   $200.00   $1,400.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/27/2023 - Report and               3.50   $250.00    $875.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/27/2023 - Report and               4.00   $425.00   $1,700.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with            0.33   $325.00    $107.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with            0.85   $325.00    $276.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/27/2023 - Report and               2.42   $325.00    $786.50
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                 2.48   $325.00    $806.00
               Review/Data Analysis/Verification Work / Shelly Voss


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Service        Texas Foster Care Monitoring - 03/27/2023 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                9.00   $200.00   $1,800.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/27/2023 - Meetings with           0.33   $250.00     $82.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                2.83   $250.00    $707.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                8.75   $395.00   $3,456.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/27/2023 - Project                 0.92   $395.00    $363.40
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/27/2023 - Document                7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/27/2023 - Project                 4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/28/2023 - Document                0.07   $300.00     $21.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/28/2023 - Document                7.50   $300.00   $2,250.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/28/2023 - Meetings with           0.50   $300.00    $150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 03/28/2023 - Document                8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Nancy Arrigona




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Service        Texas Foster Care Monitoring - 03/28/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/28/2023 - Meetings with         8.00   $200.00   $1,600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/28/2023 - Report and            4.50   $250.00   $1,125.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              5.67   $325.00   $1,842.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/28/2023 - Meetings with         0.73   $325.00    $237.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              4.52   $325.00   $1,469.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/28/2023 - Meetings with         0.50   $200.00    $100.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/28/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris




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Service        Texas Foster Care Monitoring - 03/28/2023 - Document              10.42   $395.00   $4,115.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/28/2023 - Project                0.50   $395.00    $197.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/28/2023 - Document               3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 03/28/2023 - Project                1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/28/2023 - Document               6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/28/2023 - Document               1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               0.14   $300.00     $42.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/29/2023 - Meetings with          1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/29/2023 - Meetings with          3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               3.50   $200.00    $700.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/29/2023 - Meetings with          1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/29/2023 - Report and             4.50   $250.00   $1,125.00
               Document Preparation / Deborah Borman




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Service        Texas Foster Care Monitoring - 03/29/2023 - Document               8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 03/29/2023 -                        1.50   $325.00    $487.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Clarice Rogers


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/29/2023 - Report and             3.50   $250.00    $875.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/29/2023 - Meetings with          0.80   $325.00    $260.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               7.40   $325.00   $2,405.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               8.50   $200.00   $1,700.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               0.83   $250.00    $207.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/29/2023 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris




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Service        Texas Foster Care Monitoring - 03/29/2023 - Document              8.58   $395.00   $3,389.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/29/2023 - Meetings with         1.25   $395.00    $493.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/29/2023 - Project               1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/29/2023 - Document              1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/29/2023 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/29/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/29/2023 - Project               3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/30/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 03/30/2023 - Report and            3.42   $250.00    $855.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 03/30/2023 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 03/30/2023 - Report and            1.00   $425.00    $425.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/30/2023 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers




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Service        Texas Foster Care Monitoring - 03/30/2023 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Clarice
               Rogers


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/30/2023 - Project               0.75   $325.00    $243.75
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/30/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/30/2023 - Report and            3.50   $250.00    $875.00
               Document Preparation / Omarie Roque


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              7.17   $325.00   $2,330.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              0.58   $250.00    $145.00
               Review/Data Analysis/Verification Work / Catherine Morris




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Service        Texas Foster Care Monitoring - 03/30/2023 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              7.33   $395.00   $2,895.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/30/2023 - Project               0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/30/2023 - Meetings with         1.75   $395.00    $691.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              6.25   $200.00   $1,250.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/30/2023 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/30/2023 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/30/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Omarie Roque


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              4.58   $325.00   $1,488.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 03/31/2023 - Meetings with            2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Omarie
               Roque


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 7.75   $395.00   $3,061.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 03/31/2023 - Project                  1.17   $395.00    $462.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 03/31/2023 - Meetings with            1.25   $395.00    $493.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 03/31/2023 - Document              8.82993   $325.00   $2,869.73
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 03/31/2023 - Document                 1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 03/31/2023 - Meetings with            1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/31/2023 - Meetings with            5.50   $200.00   $1,100.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 03/31/2023 - Project                  3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez



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Service           Texas Foster Care Monitoring - 03/31/2023 - Document                   6.00            $325.00             $1,950.00
                  Review/Data Analysis/Verification Work / Viveca Martinez


Product           Expenses for Texas Foster Care Monitoring (03/01/2023 -                1.00            $664.44               $664.44
                  03/31/2023)


                                                                                                 Amount Due            $825,177.61




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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Expense report for                                                 Texas Appleseed
Invoice 44

03/08/2023                                $332.22

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Catherine Morris




03/08/2023                                $192.09

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Catherine Morris
473 miles [293.26 miles]


03/08/2023                                $157.20

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Kristi Law
3/6/2022Travel from home to hotel to facility to
hotel to home; home to facility them back home
3/7/2022 Travel from home to hotel to facility to
home 3/8/2022 Travel from home to facility to
home [240.0 miles]


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03/08/2023                             $263.31

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Beth Mitchell


03/08/2023                             $332.22

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Beth Mitchell




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03/08/2023                               $400.86

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Victoria Foster
Mileage for Monitoring Trip for Make A Way RTC
[612.0 miles]


03/14/2023                               $332.22

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Shelly Voss
Hotel receipt for site visit at Make A Way RTC




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03/21/2023                                 $301.96

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Clarice Rogers
Travel in personal vehicle [461.0 miles]




03/21/2023                                 $104.70

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Clarice Rogers
Shay




03/21/2023                                 $104.70

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Clarice Rogers
Adrian




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03/21/2023                              $104.70

Client     Texas DFPS/HHSC
           Texas Foster Care Court Monitoring -
Project
           Travel
Category Lodging
Person     Clarice Rogers
Clarice.




03/21/2023                               $12.26

Client     Texas DFPS/HHSC
           Texas Foster Care Court Monitoring -
Project
           Travel
Category Meals
Person     Clarice Rogers
Starbucks




03/21/2023                               $44.88

Client     Texas DFPS/HHSC
           Texas Foster Care Court Monitoring -
Project
           Travel
Category Meals
Person     Clarice Rogers
Chili's Bar and Grill




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03/21/2023                              $13.50

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Clarice Rogers
Knox Super Stop




03/21/2023                              $54.50

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Clarice Rogers
Thai Noodle bar




03/22/2023                              $36.90

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Clarice Rogers
BUC-EE's




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03/22/2023                                  $4.60

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Clarice Rogers
Starbuck's




03/08/2023                             $332.22

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category Lodging
Person       Monica Santiago
Hotel Stay during Make A Way RTC Monitoring
Visit in Alvin, TX




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03/08/2023                          $332.22

Client    Texas DFPS/HHSC
Project   Texas Foster Care Monitoring
Category Lodging
Person    Victoria Foster
Hotel




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